            Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 1 of 9




               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       Criminal No.
               v.                             )
                                              )       FILED UNDER SEAL
FELIPE MARQUEZ,                               )
                                              )
                Defendant.                    )

                            AFFIDAVIT IN SUPPORT OF
                    CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Bartholomew Durand, being duly sworn, affirm and state:

                                       INTRODUCTION

       1.      I am a special agent with the Federal Bureau of Investigation. I have been in this

position since 2010. I am currently assigned to a squad that investigates counterintelligence out

the Washington Field Office of the FBI.

       2.      This affidavit is submitted for the purpose of establishing probable cause. The facts

in this affidavit are based on my investigation, personal observations, training, and experience, as

well as information conveyed to me by other law enforcement officials. Because this affidavit is

limited in purpose, it is not intended to include each and every fact and matter observed by me or

known to the United States.

                                  PURPOSE OF AFFIDAVIT

       3.      This affidavit is submitted in support of a criminal complaint charging the

defendant, FELIPE MARQUEZ (hereinafter “MARQUEZ”), with one count of Unlawful Entry

into Restricted Buildings or Grounds, in violation of Title 18, United States Code, Section 1752(a),

                                                  1
            Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 2 of 9




and one count of Violent Entry and Disorderly Conduct on Capitol Grounds, in violation of Title

40, United States code, Section 5104(e)(2). This affidavit is also submitted in support of an arrest

warrant for MARQUEZ.

                                   STATEMENT OF FACTS

                    Probable Cause – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

                                                 2
            Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 3 of 9




exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

and on the grounds of the U.S. Capitol without authority to be there.

                                  Probable Cause – MARQUEZ

       10.     Following the civil unrest at the U.S. Capitol described above, the FBI received a

tip stating that MARQUEZ, who was known to the tipster, shared a video to his public stories on

Snapchat on January 6, 2021. When a user posts public stories on Snapchat, those stories, which

                                                 3
          Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 4 of 9




typically contain an image, video, or series of images, are visible to the user’s “friends” and,

depending on the user’s settings, possibly others on the Snapchat platform. The tipster is friends

with MARQUEZ on the Snapchat platform, and knows that MARQUEZ’s Snapchat username is

felipe_mz95. On or after January 6, 2021, the tipster screen recorded a four-minute-twenty-

second-long video that the tipster reported that MARQUEZ had posted as a story on his Snapchat

account. The tipster provided a copy of the screen recorded video to the FBI.

       11.      The video appears to be a compilation of at least the following 13 separate videos

taken with a cell phone. Below I describe various events depicted in the video clips referencing

the relevant time stamps:

             a. 0:00 (start) to 0:13 – This clip appears to be filmed by the driver of a vehicle, while

                on a divided highway, during daytime. The steering wheel is visible, which bears

                the logo for Tesla.

             b. 0:13 to 0:25 – This is a similar clip to the one above.

             c. 0:25 to 0:35 – This clip appears to have been filmed by the driver of a vehicle, while

                on a divided highway, at nighttime. The video focuses on a truck on the road, and

                the following text is overlaid on the screen: “He’s got trump flags but you can’t see

                em, and he’s from Florida!!!!”

             d. 0:35 to 0:54 – This clip depicts continued filming by the driver of a vehicle, on a

                divided highway, at nighttime. The video focuses on a truck on the road with two

                blue “TRUMP” flags, and the following text is overlaid the screen: “We in south

                Carolina.”



                                                   4
          Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 5 of 9




           e. 0:54 to 1:54 – This clip appears to be filmed by the driver of a vehicle, while on a

               divided highway, during daytime. The driver’s side view mirror is visible; it

               appears to be white in color, suggesting that the vehicle is white. The video focuses

               on the navigation system on the dashboard, showing a destination of Washington,

               D.C. At 1:30, the user appears to flip the phone’s camera lens, so that the user is

               visible. The tipster identified this person as MARQUEZ. MARQUEZ is looking

               into the camera, mouthing along to a song, and smoking from a light-tan colored

               vape pen. MARQUEZ is wearing a red “KEEP AMERICA GREAT” hat and has a

               yellow gaiter around his neck.

           f. 1:54 to 2:07 – This clip occurs at outdoor rally and captures a substantial crowd of

               people and many flags. The Washington Monument is visible. 1

           g. 2:07 to 2:24 –This is a similar clip at an outdoor rally, which appears to be at the

               same location as the prior clip.

           h. 2:24 to 2:44 – This is a similar clip at an outdoor rally, which appears to be at the

               same location as the two prior clips.

           i. 2:44 to 3:12 – The clip is filmed in or among a large crowd. Many people and flags

               are visible. From my knowledge review of other videos in this investigation, this

               video appears to be taken at the west side of the U.S. Capitol grounds, where a

               crowd gathered on the afternoon of January 6, 2021.

1
  I know that prior to the civil unrest described above a crowd gathered on the Ellipse to listen to
several speakers, before proceeding to the U.S. Capitol. Based upon the position of the crowd in
relation to the Washington Monument, which appears in the background of the video, I believe
MARQUEZ was filming from that gathering on the Ellipse.

                                                  5
          Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 6 of 9




           j. 3:12 to 3:38 – This appears to capture people climbing over a stone rail/fence and

               others who have scaled a wall located the west side of the U.S. Capitol. The Peace

               Monument is visible. The recording captured someone yell, “Yeah baby. We

               climbed the wall.” At one point the camera focuses downward towards another

               person ascending the wall and the crowd remaining on the ground. The recording

               captures someone saying, “There goes my sign, baby. Trump won.”

           k. 3:38 to 3:45 – This is a truncated version of what was contained in the above clip.

           l. 3:45 to 4:11 – This clip is from inside a conference room. 2 Several people are

               seated and standing around a mahogany table. Some people say, “No stealing;

               don’t steal anything.” At 4:02, a hand is visible, holding a light-tan colored vape

               pen similar to the one MARQUEZ was holding in the car in the clip from 0:54 to

               1:54. At 4:04, someone pushes over a table lamp and says, “Why would I want to

               steal this bullshit.”

           m. 4:11 to 4:20 (end) – In this clip MARQUEZ turns the camera lens to film himself.

               He is wearing a red “KEEP AMERICA GREAT” hat and has a yellow gaiter around

               his neck, similar to what he was wearing in the earlier clip from 0:54 to 1:54.

               MARQUEZ appears to still be indoors, with a distinctive blue piece of artwork –

2
  Based upon conversations with representatives of the United States Capitol Police, the conference room
in which MARQUEZ is present appears to be Senate room S140, the private “hideaway” office of Senator
Merkley within the U.S. Capitol. The artwork visible on the walls of the conference room in MARQUEZ’s
Snapchat video is also visible on a video that Senator Merkley posted to Twitter on January 6, 2021, at
11:36 pm, documenting some of the damage to his office.




                                                   6
          Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 7 of 9




               the same as seen in Senator Merkley’s hideaway office – on the wall behind him.

               This is a screenshot of MARQUEZ’s face from the video:




       12.     This Snapchat video is consistent with other videos I have reviewed from media

reports as well as other investigations I have conducted into the incident at the U.S. Capitol.

Therefore, I have probable cause to believe the end of this video depicts individuals, including

MARQUEZ, who entered the U.S. Capitol building on January 6, 2021, and that MARQUEZ

filmed the video.

       13.     According to a law enforcement database search, MARQUEZ owns a white 2020

Tesla Model 3, which he registered in November 2019. The vehicle is registered to MARQUEZ

at his address in Coral Springs, Florida.

       14.     On January 9, 2021, the tipster identified MARQUEZ as the individual in the

Snapchat video. On January 12, 2021, the tipster identified MARQUEZ’s Florida driver’s license

photo as the same “Felipe MARQUEZ.” The tipster reported that the tipster does not personally




                                               7
          Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 8 of 9




know MARQUEZ, but they know people in common, and the tipster has followed MARQUEZ’s

online social media presence for several years.

       15.     I have also identified MARQUEZ as the person in the Snapchat video from

comparing the video to MARQUEZ’s Florida driver’s license photograph.

       16.     Based on the foregoing, your affiant submits that there is probable cause to believe

that MARQUEZ violated 18 U.S.C. § 1752(a)(1) and (2), which make it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

orderly conduct of Government business or official functions; or attempts or conspires to do so.

For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,

or otherwise restricted area of a building or grounds where the President or other person protected

by the Secret Service, including the Vice President, is or will be temporarily visiting; or any

building or grounds so restricted in conjunction with an event designated as a special event of

national significance.

       17.     Your affiant submits there is also probable cause to believe that MARQUEZ

violated 40 U.S.C. § 5104(e)(2)(D), (E), and (G), which make it a crime to willfully and knowingly

(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

                                                  8
          Case 1:21-cr-00136-RC Document 1-1 Filed 01/15/21 Page 9 of 9




either House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any

of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

                                        CONCLUSION

       18.     Based on my training and experience, and the information provided in this affidavit,

there is probable cause to believe that on or about January 6, 2021, in the District of Columbia,

FELIPE MARQUEZ did knowingly and willingly commit Unlawful Entry, in violation of Title

18, United States Code, Section 1752(a), and Violent Entry and Disorderly Conduct on Capitol

Grounds, in violation of Title 40, United States code, Section 5104(e)(2).



                                             _________________________________
                                             SPECIAL AGENT BARTHOLOMEW DURAND
                                             FEDERAL BUREAU OF INVESTIGATION


ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS
OF FED. R. CRIM. P. 4.1 BY TELEPHONE, THIS 15th DAY OF JANUARY, 2021.
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                                                                        2021.01.15 17:31:53
                                                                        -05'00'
                                                     ___________________________________
                                                     Robin M. Meriweather
                                                     U.S. MAGISTRATE JUDGE




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